19-13895-jlg          Doc 323        Filed 08/03/20 Entered 08/03/20 16:51:53      Main Document
                                                  Pg 1 of 2




                             Tarter Krinsky & Drogin LLP
                             1350 Broadway
                             New York, NY 10018
                             P 212.216.8000
                             F 212.216.8001
                             www.tarterkrinsky.com

                                                                 Rocco A. Cavaliere, Partner
                                                                 Email: rcavaliere@tarterkrinsky.com
                                                                 Phone: (212) 216-1141

                                                              August 3, 2020


BY FEDERAL EXPRESS AND EMAIL

Honorable James L. Garrity, Jr.
United States Bankruptcy Judge
United States Bankruptcy Court
Southern District of New York
One Bowling Green
New York, NY 10004

                   Re:       In re Orly Genger
                             Chapter 7 Case No. 19-13895

Dear Judge Garrity:

       This firm is counsel to Deborah J. Piazza, in her capacity as successor chapter 7 trustee
(the “Trustee”) of the above-referenced Debtor’s estate.

       As Your Honor is aware, the Court has scheduled a status conference for August 4, 2020
at 4:00 p.m. in the above-referenced case. I am looking forward to participating in the status
conference.

        As Judge Davis noted before transfer of this case to this Court, this case is suffering from
excessive advocacy. In a letter dated July 29, 2020, counsel to Sagi Genger requests an order
compelling discovery of settlement communications and drafts of settlement agreements by and
between the Trustee and counterparties to the agreement attached to the Chapter 7 Trustee's
Motion For Order Pursuant To Sections 105(a), 363, And 364 Of The Bankruptcy Code And
Bankruptcy Rules 2002, 4001, 6004, 9006 And 9019: Approving The (A) Settlement Agreement,
(B) Sale Of The Debtor's Estates Causes Of Action Against Certain Third Parties, And (C)
Financing To Support The Continued Administration Of The Case And (D) Granting Related
Relief (the “Trustee’s Motion”). In a world in which silence will sometimes be viewed as an


{Client/086201/1/02153261.DOCX;1 }
19-13895-jlg          Doc 323
                            Filed 08/03/20 Entered 08/03/20 16:51:53               Main Document
                                         Pg 2 of 2
Honorable James L. Garrity, Jr.
August 3, 2020
Page 2 of 2

admission of sorts, the Trustee felt compelled to prepare this very short letter so that the record is
clear that the Trustee disagrees with the contents of Mr. Pitta’s letter. Rather than engage in
unproductive letter writing that would likely invite numerous responsive letters in advance of the
status conference, the Trustee will address the contents of the July 29th letter at the status
conference, assuming the Court deems it appropriate.

        This is obviously a contentious case, with numerous sophisticated parties and a difficult
family dynamic that has contributed to significant administrative costs on the part of the estate.
On behalf of the Trustee, I look forward to addressing any and all issues the Court wishes to
discuss at the upcoming conference, including scheduling of matters. To the extent that the
status conference also leads to a mechanism to resolve disputes without the need for burdening
the Court on a frequent basis, the Trustee is all for it.

         Please do not hesitate to have Chambers contact me should the Court have any questions.

                                                              Respectfully submitted,

                                                              /s/Rocco A. Cavaliere

                                                              Rocco A. Cavaliere




{Client/086201/1/02153261.DOCX;1 }
